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                                                                                         FILED
                                                                                  September 22, 2020
                                                                                  CLERK, U.S. DISTRICT COURT
                       IN THE UNITED STATES DISTRICT COURT                        WESTERN DISTRICT OF TEXAS
                        FOR THE WESTERN DISTRICT OF TEXAS
                                                                                        Reuben Amaro
                                                                               BY: ________________________________
                                  WACO DIVISION                                                        DEPUTY




                    STANDING ORDER REGARDING
  NOTICE OF READINESS FOR SCHEDULING CONFERENCE IN PATENT CASES

       In all patent cases pending before the undersigned, after all Defendants have responded to

the initial pleadings (whether by Answer or Motion), the Parties are directed to meet-and-confer

within seven (7) days of the last Answer or Motion to discuss any pre-Markman issues and the

Parties shall jointly file the Case Readiness Status Report (“CRSR”) in the format attached as

Exhibit A promptly thereafter. Plaintiff shall be responsible for ensuring the prompt submission

of the CRCR. Plaintiff shall also email the Court

(TXWDml_LawClerks_JudgeAlbright@txwd.uscourts.gov) a courtesy copy of the CRSR and

shall also copy the Defendants.



SIGNED this 22nd day of September, 2020.




                                     ALAN D ALBRIGHT
                                     UNITED STATES DISTRICT JUDGE




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                            Exhibit A




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                            UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


  [Plaintiff],

                  Plaintiff                         Case No. 6:20-cv-00000-ADA


                  v.                                JURY TRIAL DEMANDED


  [Defendant],

                  Defendant


                              CASE READINESS STATUS REPORT

        Plaintiff [name] and Defendant [name(s)], hereby provide the following status report in

advance of the initial Case Management Conference (CMC).

                                 FILING AND EXTENSIONS

        Plaintiff’s Complaint was filed on [filing date]. There have been [one/two] extension[s]

for a total of __ days.

                               RESPONSE TO THE COMPLAINT
 [Indicate if/when the defendant(s) responded to the Complaint, whether it was an Answer or

 Motion, and whether any counterclaims were filed other than counterclaims for non-infringement

 or invalidity]

                                     PENDING MOTIONS

        [Identify all pending motions]
                       RELATED CASES IN THIS JUDICIAL DISTRICT

     [Identify all related cases in this Judicial District, including any other cases where a
common patent is asserted]




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                          IPR, CBM, AND OTHER PGR FILINGS
       [There are no known IPR, CBM, or other PGR filings.] [Or]
       ALT: IPR2020-00000 was filed on ____ and docketed on ____. A Final Written decision
is expected on or before _____.]
                    NUMBER OF ASSERTED PATENTS AND CLAIMS
       Plaintiff has asserted [Num Patents] patent[s] and a total of [Num Claims] claims. .
[If a Plaintiff has already served Preliminary Infringement Contentions (“PICs”), note the date of
service. Note: Per the Court’s Order Governing Proceeding, Plaintiff must serve PICs no later
than 7 days before the CMC]
                       APPOINTMENT OF TECHNICAL ADVISER
[Indicate whether the parties request a technical adviser to be appointed to the case to assist the
Court with claim construction or other technical issues]
                               MEET AND CONFER STATUS
        Plaintiff and Defendant conducted a meet & confer conference. [The parties have no pre-
Markman issues to raise at the CMC.] or [The parties identified the following pre-Markman issues
to raise at the CMC [list].


 Dated: ___________                                  Respectfully Submitted

                                                     /s/




VERSION 2.0
